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                                8      Attorneys for Defendants
                                       SHERIFF JEFF DIRKSE,
                                9      SGT. JOSE SOUSA and
                                       HENRY MENDEZ
                             10

                             11

                             12                                IN THE UNITED STATES DISTRICT COURT
                             13                       IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
                             14

                             15        DAVID MCDANIEL,                                    CASE NO: 1:20-cv-00856-NONE-SAB
                             16
                                                      Plaintiff,                         DECLARATION OF SHANAN L. HEWITT
                             17        vs.                                               IN SUPPORT OF DEFENDANTS DIRKSE,
                                                                                         SOUSA AND MENDEZ’S MOTION TO
                             18                                                          DISMISS THE SECOND AMENDED
                                       RALPH DIAZ, in his official capacity;             COMPLAINT
                             19        JEFF DIRKSE, in his individual and
                                       official capacity; RHONA DELACRUZ;
                             20        JOSEPH GUERRERO; JOSE SOUSA;
                                       HENRY MENDEZ; CALIFORNIA
                             21        DEPARTMENT OF CORRECTION AND                      Hearing Date: December 9, 2020
                                       REHABILITATION DOES 1-10; and                     Time:         10 a.m.
                             22        STANISLAUS COUNTY SHERIFF’S                       Courtroom: 9
                                       DEPARTMENT DOES 1-5,                              Judge:        Hon. Stanley Boone
                             23
                                                      Defendants.
                                                                                        TELEPHONIC APPEARANCE REQUESTED
                             24

                             25       I, SHANAN L. HEWITT, declare as follows:
                             26              1.       I am an attorney duly admitted to practice before this Court and a partner of the firm
                             27       of Rivera Hewitt Paul LLP, attorneys for Defendants Stanislaus County Sheriff JEFF DIRKSE,
                             28       HENRY MENDEZ, and Sgt. JOSE SOUSA in this action.
  RIVERA HEWITT PAUL LLP
11341 Gold Express Drive, Suite 160    DECL. OF SHANAN L. HEWITT ISO MTN TO
      Gold River, CA 95670
         (916) 922-1200                DISMISS SAC                                       1
                                       Case No. 1:20-cv-00856-NONE-SAB
                                1            2.       Attached as Exhibit A hereto is a true and correct copy of the Second Amended

                                2     Complaint filed in this action on October 14, 2020 (Doc. 31).

                                3            3.       Attached hereto as Exhibit B is a true and correct copy of a certified copy of the

                                4     “Declaration and Order for Production From California State Prison,” filed October 24, 2019 in

                                5     Stanislaus County Superior Court Case No. 1480530.

                                6            4.       Attached hereto as Exhibit C is a true and correct copy of Stanislaus County’s

                                7     response to Plaintiff David McDaniel’s government tort claim, dated August 6, 2020.

                                8            5.       I have personal knowledge of the matters referenced above, and if called upon, could

                                9     competently testify thereto.

                             10              I declare under penalty of perjury under the laws of the United States of America that the

                             11       foregoing is true and correct.

                             12              Executed on October 23, 2020, at Gold River, California.

                             13
                                                                                    /s/ Shanan L. Hewitt
                             14                                                     SHANAN L. HEWITT
                             15

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  RIVERA HEWITT PAUL LLP
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      Gold River, CA 95670
         (916) 922-1200                DISMISS SAC                                       2
                                       Case No. 1:20-cv-00856-NONE-SAB
EXHIBIT A: Second Amended Complaint (Doc. 31)
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 1 of 14


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10
                            IN THE UNITED STATES DISTRICT COURT FOR THE
11                                 EASTERN DISTRICT OF CALIFORNIA
12   DAVID MCDANIEL,                                            Case No.: 1:20-cv-00856
13                                                              SECOND AMENDED COMPLAINT FOR
                    Plaintiff,
                                                                DAMAGES FOR VIOLATION OF CIVIL
14                                                              RIGHTS; FALSE IMPRISONMENT; AND
            v.                                                  NEGLIGENCE
15
     JEFF DIRKSE, in his individual and official                Jury trial demanded
16   capacity; RHONA DELACRUZ; JOSEPH
17   GUERRERO; TANIA BROWN; AMBER
     STEELE-HICKS; BRANDY SMITH; ELIJAH
18   PRUITT; NICHELLE HARRINGTON; JOSE
     SOUSA; HENRY MENDEZ
19
                    Defendants.
20

21

22                                              INTRODUCTION

23          1.      This case is about Defendants’ unlawful imprisonment of a man after a judge ordered that

24   he be freed.
25
            2.      According to black-letter law, once a prisoner has served his sentence, his jailor has a
26
     reasonable amount of time to process and release him. Courts have repeatedly held that the phrase
27

28
     Complaint for Damages                         1
           Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 2 of 14


     “reasonable time” means some amount of time less than 48 hours.1 A minute more is presumptively
 1

 2   unconstitutional and illegal.

 3            3.       A jury is often asked to decide whether an overdetention of less than 48 hours is

 4   constitutional,2 and juries have found that delay of as little as thirty minutes is unconstitutional.3 But
 5
     courts across the country have held, unequivocally, that a detention beyond 48 hours of an inmate’s
 6
     known sentence is unreasonable and illegal. Indeed, “[t]he court has been unable to find any case,
 7
     whether within or outside of the Eleventh Circuit, in which the detainment of a properly identified
 8
     individual for days beyond his scheduled release date was held constitutionally permissible.”4
 9

10            4.       David McDaniel should have been a free man on December 13, 2019. A judge issued an

11   order for his release on that date in open court.
12            5.       But Defendants did not set Mr. McDaniel free on December 13, 2019. Instead, they held
13
     him in custody until January 7, 2020 – despite the repeated entreaties of Mr. McDaniel and his lawyers.
14
              6.       David McDaniel files this lawsuit to hold Defendants accountable for what they did to
15
     him, and to correct Defendants’ failures so that other men and women do not suffer the same injustice.
16

17                                              JURISDICTION AND VENUE

18            7.       This Court has jurisdiction over Plaintiff’s claims of federal rights violations, enforceable

19   under the Fourteenth Amendment and 42 U.S.C. § 1983, pursuant to 28 U.S.C. §§ 1331, 1343(a)(3).
20   This Court has jurisdiction over Plaintiff’s state law claims in accordance with 28 U.S.C. § 1367.
21
              8.       Venue is proper in this Court because a substantial part of the events giving rise to the
22

23

24   1
       Barnes v. District of Columbia, 793 F. Supp. 2d 260 (D.D.C. 2011) (“In recognition of these facts, courts appear to agree
     that the maximum permissible administrative delay in the overdetention context likely falls well short of the 48-hour horizon
25   set out in McLaughlin.”). That is because once a detainee is ordered released, the public’s interest in his prompt release is
     even greater, and the constitutional tolerance for "administrative delay" is substantially less than in the context of arrestees
26   awaiting probable cause determinations – which must come within 48 hours. See Berry v. Baca, 379 F.3d 764, 771-72 (9th
     Cir. 2004); Powell v. Barrett, 376 F.Supp.2d 1340, 1353 (N.D.Ga. 2005).
     2
       Berry v. Baca, 379 F.3d 764, 77072 (9th Cir.2004) (twenty-nine hour delay presented question for jury); Arline v. City of
27
     Jacksonville, 359 F.Supp.2d 1300, 1310 (M.D.Fla.2005) (two and a half hour delay presented jury question).
     3
       Davis v. Hall, 375 F.3d 703, 713 (8th Cir. 2004).
28   4
       Powell v. Barrett, 376 F.Supp.2d 1340, 1354 (N.D.Ga. 2005) (bolded emphasis added).
     Complaint for Damages                                   2
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 3 of 14


     claim occurred in this district.
 1

 2                                                     PARTIES

 3           9.       Plaintiff DAVID MCDANIEL is a resident of the state of California.

 4           10.      Defendant JEFF DIRKSE is the Sheriff of Stanislaus County, California. He is
 5
     responsible for operating the Stanislaus County jail facilities, including promulgating policies and
 6
     procedures at those facilities. He is sued in his individual and official capacities.
 7
             11.      Defendant RHONA DELACRUZ is an employee of CDCR. She personally processed
 8
     paperwork related to Plaintiff’s sentence and release, and her actions and inaction resulted in Plaintiff’s
 9

10   overdetention.

11           12.      Defendant JOSEPH GUERRERO is an employee of CDCR. He communicated with
12   other Defendants and individuals regarding Plaintiff’s sentence and release, and his actions and inaction
13
     resulted in Plaintiff’s overdetention.
14
             13.      Defendant TANIA BROWN is an employee of CDCR. On or about December 30, 2019,
15
     she personally processed paperwork related to Plaintiff’s sentence and release, and her actions and
16

17   inaction resulted in Plaintiff’s overdetention.

18           14.      Defendant AMBER STEELE-HICKS is an employee of CDCR. On or about

19   December 31, 2019, she personally processed paperwork related to Plaintiff’s sentence and release, and
20   her actions and inaction resulted in Plaintiff’s overdetention.
21
             15.      Defendant BRANDY SMITH is an employee of CDCR in a supervisory capacity. By
22
     December 30, 2019, she had personal knowledge related to Plaintiff’s sentence and release, and her
23
     actions and inaction resulted in Plaintiff’s overdetention.
24

25           16.      Defendant ELIJAH PRUITT is an employee of CDCR. He was responsible for

26   processing and following up on court records related to Plaintiff’s case from October to December 2019.

27   He was personally aware that Plaintiff’s court proceedings were concluded by December 17, 2019, and
28
     Complaint for Damages                             3
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 4 of 14


     his actions and inaction resulted in Plaintiff’s overdetention.
 1

 2          17.       Defendant NICHELLE HARRINGTON is an employee of CDCR. He personally

 3   processed paperwork related to Plaintiff’s sentence and release, noted Plaintiff’s eligibility for

 4   “immediate release” on December 30, 2019, and his actions and inaction resulted in Plaintiff’s
 5
     overdetention.
 6
            18.       Defendant JOSE SOUSA is an employee of SCSD. He communicated with other
 7
     Defendants and individuals regarding Plaintiff’s sentence and release, and his actions and inaction
 8
     resulted in Plaintiff’s overdetention.
 9

10          19.       Defendant HENRY MENDEZ is an employee of SCSD. He communicated with other

11   Defendants and individuals regarding Plaintiff’s sentence and release, and his actions and inaction
12   resulted in Plaintiff’s overdetention.
13
                                              STATEMENT OF FACTS
14
            20.       Mr. McDaniel was initially arrested in connection with Stanislaus County Superior
15
     Court case number 1480530 on October 31, 2014.
16

17          21.       On February 16, 2016, Mr. McDaniel was charged by information in Stanislaus County

18   Superior Court case number 1480530 with ten counts alleging robberies in violation of Penal Code §

19   211, along with special allegations alleging that Mr. McDaniel had suffered several prior convictions
20   for serious felonies within the meaning of Penal Code §§ 667(d) and 1192.7(c) and two prior
21
     convictions that would yield a sentencing enhancement under Penal Code § 667.5(b).
22
            22.       The case proceeded to trial by jury, and Mr. McDaniel was convicted of the robberies
23
     charged in Counts I, II, III, IV, V, VII, VIII, IX and X, and acquitted on Count VI. The Court found in
24

25   a separate bench trial that Mr. McDaniel had suffered the alleged prior convictions.

26          23.       On May 16, 2017, the Court sentenced Mr. McDaniel to an indeterminate sentence of

27   125 years to life in prison and a determinate sentence of 25 years imprisonment.
28
     Complaint for Damages                           4
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 5 of 14


             24.    Mr. McDaniel was admitted to the California State Prison, Solano on or around May 30,
 1

 2   2017.

 3           25.    Mr. McDaniel appealed his conviction, and on October 16, 2019, the Court of Appeal

 4   for the State of California, Fifth Appellate District reversed the conviction. The Court of Appeal
 5
     remanded the case to the Stanislaus County Superior Court.
 6
             26.    On October 24, 2019, Judge Nancy Ashley of the Stanislaus County Superior Court
 7
     signed an order under case number 1480530 commanding CDCR to deliver Plaintiff into the custody of
 8
     the Stanislaus County Sheriff, and ordering the Stanislaus County Sheriff to take custody of Plaintiff.
 9

10           27.    On November 13, 2019, Rhona Delacruz acting in her capacity as an employee of

11   CDCR placed a detainer on Plaintiff.
12           28.    The CDCR detainer was based on the May 16, 2017 commitment in case 1480530,
13
     which had already been reversed by the Court of Appeal for the State of California, Fifth Appellate
14
     District.
15
             29.    On November 21, 2019, Plaintiff was transferred from the custody of CDCR to the
16

17   custody of the Stanislaus County Sheriff, and he was booked into Stanislaus County Jail.

18           30.    On November 21, 2019, CDCR provided its detainer to SCSD, and an employee of

19   SCSD signed for its receipt.
20           31.    On December 13, 2019, Mr. McDaniel appeared before Judge Nancy Ashley of the
21
     Stanislaus County Superior Court. At that time, Mr. McDaniel accepted a plea agreement offered by
22
     the Stanislaus County District Attorney’s Office. Pursuant to the terms of the plea agreement, Mr.
23
     McDaniel pled no contest to Counts I, II, III and IV of the information. The remaining counts and all
24

25   enhancement were dismissed.

26           32.    The Court sentenced Mr. McDaniel to six years imprisonment, calculating that he had

27   earned custody credits totaling 2,518 days – in other words, he already had substantially more than six
28
     Complaint for Damages                         5
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 6 of 14


     years’ worth of credits.
 1

 2          33.     When Mr. McDaniel accepted the plea agreement on December 13, 2019, all parties

 3   involved – the assistant district attorney, the judge, the defense attorney, and Mr. McDaniel himself –

 4   had a shared understanding that Mr. McDaniel was to be processed and immediately released in
 5
     connection with case number 1480530.
 6
            34.     The Court’s minute order from December 13, 2019 reflects that shared understanding.
 7
     According to the minute order Mr. McDaniel’s plea resulted in a “paper commitment” – meaning he
 8
     had already served his sentence and was entitled to immediate release from custody. The minute order
 9

10   also states that Mr. McDaniel was to be “released on parole” and directs him to report within seven

11   days to the parole office:
12

13

14

15

16

17

18
19          35.     On December 16, 2019, the Court filed the abstract of judgment, which confirms that

20   Judge Ashley intended for Mr. McDaniel to be processed and immediately released upon his December
21   13, 2019 resentencing. The abstract of judgment contains the Court’s calculation of Mr. McDaniel’s
22
     credits – again, 2518 total days, or substantially more than six years in total. It explicitly orders that
23
     Mr. McDaniel was to be “remanded to the custody of the sheriff forthwith” and “released on Parole
24
     ordered to report to Parole w/in 7 days”:
25

26
27

28
     Complaint for Damages                           6
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 7 of 14



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11           36.    The abstract of judgment even provides the basis for Judge Ashley’s order for the sheriff

12   to release Mr. McDaniel on parole immediately, which was that “per PC 1170(a)(3)[,] [p]reconfinement
13   credits equal or exceed time imposed”:
14

15

16

17
             37.    Despite the fact that the Court concluded Mr. McDaniel had credits for time served that
18
     exceeded the prison sentence imposed by the Court, and explicitly ordered the sheriff to release Mr.
19
     McDaniel immediately in case number 1480530, Mr. McDaniel was not released.
20
             38.    On December 13, 2019, after his court appearance was concluded, Mr. McDaniel was
21

22   transported to Stanislaus County Jail. That day, a copy of the court’s minute order was provided to

23   SCSD.
24           39.    When Mr. McDaniel realized he was not being released, he informed Defendants in the
25
     Stanislaus County Jail that the judge had ordered his release. Defendants did not adequately inquire into
26
     or investigate Mr. McDaniel’s complaints, and he was not released.
27
             40.    On December 15, 2019, Henry Mendez acting in his capacity as an employee of SCSD
28
     Complaint for Damages                         7
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 8 of 14


     contacted Solano State Prison and spoke to Joseph Guerrero, who informed Henry Mendez that Mr.
 1

 2   McDaniel should be returned to the custody of the CDCR based on the detainer in case 1480530.

 3          41.     Henry Mendez informed Jose Sousa of the instructions given to him by Joseph Guerrero.

 4   Henry Mendez and Jose Sousa chose to follow the advice of Joseph Guerrero and return Mr. McDaniel
 5
     to CDCR’s custody, rather than follow the court’s order to release Mr. McDaniel.
 6
            42.     Mr. McDaniel remained incarcerated in Stanislaus County Jail until December 18, 2019.
 7
            43.     During the time he was incarcerated in Stanislaus County Jail, Mr. McDaniel informed
 8
     Defendants on a daily basis that he had been ordered released, to no avail.
 9

10          44.     On December 18, 2019, Mr. McDaniel was transported to the California State Prison,

11   Solano.
12          45.     Shortly after arriving at California State Prison Solano, Mr. McDaniel informed
13
     Defendants at Solano that he had been ordered released and was being unlawfully detained. Defendants
14
     did not adequately inquire into or investigate Mr. McDaniel’s complaints, and he was not released.
15
            46.     Mr. McDaniel contacted his appellate attorney Rafael Goldman to inform him of the
16

17   situation. Mr. Goldman contacted Mary Ellen Hurtle, the attorney who represented Mr. McDaniel at his

18   December 13, 2019 plea and resentencing in Stanislaus County Court.

19          47.     On December 30, 2019, Mary Ellen Hurtle began making phone calls to CDCR to
20   determine why Mr. McDaniel had not been released from custody as ordered by Judge Ashley over two
21
     weeks earlier. She made several phone calls to CDCR over the course of the day.
22
            48.     On December 30, 2019, Defendants initially informed Ms. Hurtle that they would not
23
     release Mr. McDaniel because they did not have a minute order from the court, and the parole board
24

25   would “overrule” the court until CDCR received the court’s minute order.

26          49.     Later that day, Defendants told Ms. Hurtle they had requested the minute order from the

27   court clerk and were expecting it to be faxed to them.
28
     Complaint for Damages                         8
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 9 of 14


             50.      During the final phone call between Ms. Hurtle and Defendants on December 30, 2019,
 1

 2   Defendants informed Ms. Hurtle they had just received the court’s minute order that day.

 3           51.      During that final phone call, Defendants verified that the minute order authorized Mr.

 4   McDaniel’s release on December 13, 2019. However, they stated it would take an additional five to
 5
     seven business days to process Mr. McDaniel’s release, and estimated due to the New Years holidays he
 6
     would not be released until January 7, 2020.
 7
             52.      Had Defendants released Mr. McDaniel when they were legally required to do so, he
 8
     would have celebrated Christmas with family members who had anticipated his homecoming, including
 9

10   a grandmother in her mid-80s. Instead, he remained unlawfully imprisoned.

11           53.      Mr. McDaniel was finally released from California State Prison, Solano on January 7,
12   2020.
13
             54.      Therefore, Mr. McDaniel was overdetained for a total of 25 days – from December 13,
14
     2019 until January 7, 2020. Even worse, more than a week of his overdetention took place after CDCR
15
     admitted they had received the court order stating he was supposed to be free.
16

17           55.      On June 23, 2020, Plaintiff submitted a tort claim to the CDCR and the Sheriff's Office.

18           56.      In a letter dated July 10, 2020, the CDCR, through the California Department of General

19   Services, rejected Plaintiff's tort claim on grounds including that it "involves complex issues that are
20   beyond the scope of analysis and legal interpretation typically undertaken" by the Government Claims
21
     Program Staff.
22
             57.      In a letter dated August 6, 2020, the Sheriff's Office, through the Board of Supervisors of
23
     the County of Stanislaus returned the tort claim without taking action on it.
24

25                                       FIRST CAUSE OF ACTION
                   Violation of the Fourteenth Amendment to the United States Constitution
26                                         (Against All Defendants)

27           58.      Plaintiff hereby incorporates all of the above.
28
     Complaint for Damages                            9
            Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 10 of 14


                59.      A prisoner has a "due process right to be released within a reasonable time after the
 1

 2   reason for his detention [has] ended."5 And prison officials have a corresponding duty to investigate a

 3   prisoner’s claim that he is entitled to release.6

 4              60.      Defendants deprived David McDaniel of his liberty and violated his Fourteenth
 5
     Amendment rights by detaining him for 25 days after the legal authority to hold him had expired. As
 6
     Defendants were acting under the color of state law, Plaintiff’s claims are actionable under 42 U.S.C. §
 7
     1983.
 8
                61.      Defendants violated Mr. McDaniel’s Fourteenth Amendment rights by failing to
 9

10   investigate his claims that he was lawfully entitled to release. As Defendants were acting under the

11   color of state law, Plaintiff’s claims are actionable under 42 U.S.C. § 1983.
12                                           SECOND CAUSE OF ACTION
                              Violation of Article 1, Section 7 of the California Constitution
13
                                                 (Against All Defendants)
14
                62.      Plaintiff hereby incorporates all of the above.
15
                63.      Article 1, Section 7(a) of the California Constitution guarantees that “[a] person may not
16

17   be deprived of life, liberty, or property without due process of law or denied equal protection of the

18   laws…”

19              64.      By reason of the same conduct that constitutes false imprisonment, negligence, and a
20   violation Mr. McDaniel’s federal constitutional rights, Defendants violated his state constitutional rights
21
     to liberty and due process.
22
                65.      This conduct resulted in Mr. McDaniel’s overdetention and caused the physical,
23
     emotional and pecuniary damages as described above and below.
24

25                                                THIRD CAUSE OF ACTION
                                                         Negligence
26
     5
         Brass v. County of Los Angeles, 328 F.3d 1192, 1200 (9th Cir. 2003).
27   6
         Haygood v. Younger, 769 F.2d 1350 (9th Cir. 1985) (en banc).
28
     Complaint for Damages                                   10
            Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 11 of 14


                                                     (Against all Defendants)
 1

 2              66.      Plaintiff hereby incorporates all of the above.

 3              67.      "In order to prove facts sufficient to support a finding of negligence, a plaintiff must

 4   show that [the] defendant had a duty to use due care, that he breached that duty, and that the breach was
 5
     the proximate or legal cause of the resulting injury."7
 6
                68.      Due to their professional roles as jailors, Defendants owed duties to avoid overdetention
 7
     to the persons in their custody, including Mr. McDaniel.
 8
                69.      Defendants had a duty to ensure that Mr. McDaniel was released within a reasonable time
 9

10   after he was ordered released by a judge.

11              70.      Defendants had a duty to investigate Mr. McDaniel’s claim that he was entitled to
12   release, rather than simply ignore his complaints and continue to detain him. The 9th Circuit has held
13
     that when a jailer is presented with a prisoner’s reasonable complaint of overdetention, “[I]f you just sit
14
     around and don't do anything, you do run a chance of being responsible.”8
15
                71.      These duties were breached by Defendants’ acts and omissions, including the failure to
16

17   investigate or release Mr. McDaniel after repeated inquiries by Mr. McDaniel and his attorneys.

18              72.      These duties were breached by Defendants’ acts and omissions, including the failure to

19   release Mr. McDaniel timely after receiving the minute order from Stanislaus County Court which
20   ordered his release.
21
                73.      Defendants’ acts and omissions were the cause in fact of Mr. McDaniel’s harm because
22
     they resulted in his illegal incarceration for 25 days.
23
                74.      As a result of Defendants’ acts and omissions, Mr. McDaniel suffered actual, foreseeable
24

25   harm.

26                                              FOURTH CAUSE OF ACTION

27
     7
         Hayes v. County of San Diego, 57 Cal. 4th 622 (Cal. 2013).
28   8
         Alexander v. Perrill, 916 F.2d 1392, 1395 (9th Cir. 1990)
     Complaint for Damages                                   11
          Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 12 of 14


                                                      False Imprisonment
 1                                                  (Against All Defendants)
 2
              75.      Plaintiff hereby incorporates all of the above.
 3
              76.      “The elements of a tortious claim of false imprisonment are: (1) the nonconsensual,
 4
     intentional confinement of a person, (2) without lawful privilege, and (3) for an appreciable period of
 5

 6   time, however brief.”9

 7            77.      On December 13, 2019, the legal authority to detain Mr. McDaniel expired.

 8            78.      Defendants “knew or should have known”10 that Mr. McDaniel was entitled to release on
 9
     December 13, 2019 and they failed to exercise “reasonable diligence to discharge the duty"11 of
10
     effectuating his release.
11
              79.      Defendants imprisoned Mr. McDaniel without his consent until January 7, 2020.
12
              80.      Defendants thus falsely imprisoned Mr. McDaniel when they unlawfully held him past
13

14   his release date.

15            81.      As a result of this false imprisonment, Mr. McDaniel suffered the physical, emotional and
16   pecuniary damages as described above and below.
17
                                              FIFTH CAUSE OF ACTION
18                                      Monell and Failure to Train and Supervise
                                          (Against Defendants DIRKSE only)
19
              82.      Defendant DIRKSE had a duty arising under the Fourteenth Amendment to the United
20

21   States Constitution to adequately train, supervise and discipline all prison and jail personnel in order to

22   prevent overdetention of prisoners.

23            83.      Defendant weas deliberately indifferent to their duties to properly train, discipline and
24   supervise the jail staff.
25

26
27   9
       Lyons v. Fire Ins. Exch., 74 Cal. Rptr. 3d 649, 655 (Ct. App. 2008).
     10
        Sullivan v. County of Los Angeles, 12 Cal. 3d 710, 717-718 (1974).
28   11
        Id. at 715-716.
     Complaint for Damages                                  12
         Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 13 of 14


            84.     Defendant declined to implement sufficient training, sufficient policies, or any legitimate
 1

 2   mechanism for oversight or punishment of officers and agents.

 3          85.     The Sheriff’s office’s practice and policy of relying on information from other jailers

 4   rather than orders from a court demonstrates a pattern or policy of overdetention.
 5
            86.     As a result of Defendant’s actions and omissions, including his failure to train, supervise
 6
     and discipline staff, Mr. McDaniel was overdetained.
 7
                                           SIXTH CAUSE OF ACTION
 8                                              Vicarious Liability
                                         (Against DefendantDIRKSE only)
 9

10          87.     While committing the misconduct alleged in the preceding paragraphs, some Defendants

11   and others were employees, members, and agents of the SCSD within the scope of their employment.
12          88.     Defendant DIRKSE in his official capacity as Sheriff of Stanislaus County is therefore
13
     liable as a principal for all torts committed by his agents.
14
            89.     Plaintiff is entitled to declaratory and other relief under this cause of action, not to
15
     include compensatory or punitive damages.
16

17                                                JURY DEMAND

18          90.     Plaintiff demands a jury trial on all issues so triable.

19                                             RELIEF REQUESTED
20          91.     Wherefore, Plaintiff respectfully requests that this Court grant the following relief:
21
                  a. Declaratory relief;
22
                  b. Compensatory damages, including both general and special damages;
23
                  c. Exemplary and/or punitive damages from all Defendants exceptDIRKSE;
24

25                d. Attorney’s fees and expenses under 42 U.S.C. § 1988(b); and

26                e. Such other relief, including injunctive relief, as may be just or proper.

27                   Respectfully submitted,
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     Complaint for Damages                           13
        Case 1:20-cv-00856-NONE-SAB Document 31 Filed 10/14/20 Page 14 of 14



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     Complaint for Damages                         14
EXHIBIT B: Declaration and Order for Production From
California State Prison,” filed October 24, 2019 in
Stanislaus County Superior Court Case No. 1480530
EXHIBIT C: Stanislaus County’s Response to Plaintiff’s
Tort Claim, dated August 6, 2020
